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       TREVON MAURICE FRANKLIN
7
8                               UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
11
12     UNITED STATES OF AMERICA,                     Case No. CR 17-206-JAK
13                 Plaintiff,                        STATUS REPORT RE: THE
                                                     STATUS OF DEFENDANT’S
14           v.                                      COMPLIANCE WITH COURT
                                                     ORDERS
15     TREVON MAURICE FRANKLIN,
16                 Defendant.
17
18           Defendant, Trevon Maurice Franklin, through his counsel of record, Deputy
19     Federal Public Defender Summer Lacey, hereby submits this status report re: the status
20     of defendant’s compliance with Court orders following the September 6, 2018, Order to
21     Show Cause Hearing, as requested by this Court.
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23     //
24     //
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26     //
27     //
28     //
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1            On September 6, 2018, this Court requested that a status report re: the status of
2      defendant’s compliance with Court orders following the September 6, 2018, Order to
3      Show Cause Hearing, be filed by September 10, 2018. Following the status conference
4      on September 6, 2018, Mr. Franklin called ED/CA Pretrial Service Officer Anthony
5      Perez and scheduled a drug test for September 7, 2018. On September 6, 2018, Mr.
6      Franklin also informed Officer Perez that he would go to the Fresno County Superior
7      Court on September 7, 2018, to inquire about the status of the bench warrant ordered in
8      the pending misdemeanor state case. Additionally, on September 6, 2018, CD/CA
9      Pretrial Service Officer Matthew Carter informed defense counsel that Officer Perez
10     has agreed to increase Mr. Franklin’s drug testing frequency in order to address
11     concerns regarding illicit substance abuse.
12           On September 7, 2018, Mr. Franklin went to the Fresno County Superior Court
13     to inquire about the bench warrant. When he arrived at the courthouse, he notified the
14     court clerk that he had an active bench warrant in connection with a pending
15     misdemeanor case. Mr. Franklin was instructed to schedule a new calendar date for the
16     case with the court clerk. Mr. Franklin was given a calendar notification document
17     noting that a new pretrial date had been set in the matter for October 26, 2018. Mr.
18     Franklin was not given the opportunity to appear before a judge. Rather, he was
19     instructed to return to court on October 26, 2018. Mr. Franklin will contact the attorney
20     assigned to represent him in his state case to inquire about further actions.
21           Following the court matter, Mr. Franklin met with Officer Perez for drug testing.
22     Mr. Franklin showed Officer Perez a copy of the calendar notification document that he
23     received from Fresno County Superior Court. Officer Perez made copies of the
24     document. Mr. Perez and Mr. Franklin spoke about Mr. Franklin’s continued drug
25     testing. Mr. Franklin shall additionally confer with Officer Perez as to available drug
26     and alcohol treatment options.
27     //
28     //
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1            Finally, Mr. Franklin will live with his grandfather, James McPherson, in Fresno,
2      California. Mr. McPherson’s address has been provided to Officer Perez.
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5                                          Respectfully submitted,
6                                          HILARY POTASHNER
                                           Federal Public Defender
7
8      DATED: September 7, 2018            /s/ Summer Lacey
9                                          SUMMER LACEY
                                           Deputy Federal Public Defender
10                                         Attorney for Defendant
                                           TREVON MAURICE FRANKLIN
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